      Case 4:11-cr-00037-RH-CAS         Document 500      Filed 10/16/12     Page 1 of 3


                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION



NOE VASQUEZ,

        Petitioner,

vs.                                               Case No. 4:11cr37-RH/CAS
                                                  Case No. 4:12cr04-RH/CAS
UNITED STATES,

        Respondent.

                                    /


                           REPORT AND RECOMMENDATION

        On October 4, 2012, Petitioner filed a Petition for a Writ of Error Coram Nobis.

Doc. 499 of case 4:11cr37; doc. 20 of case 4:12cr04. Petitioner asserts that his

conviction should be vacated because he was not advised by counsel that his plea

would result in "automatic deportation." Id. Petitioner argues that his plea was not

made knowingly, intelligently, or voluntarily because counsel failed to advise him of the

possible immigration consequences of entering a guilty plea. Id. Petitioner contends he

is entitled to relief because he suffered a "fundamental error" as recognized in Padilla v.

Kentucky, 130 S.Ct. 1473 (2010).

        "A petitioner who has served his sentence and is no longer in custody may

petition for a writ of error coram nobis, although relief is not routinely granted, as the
     Case 4:11-cr-00037-RH-CAS              Document 500    Filed 10/16/12     Page 2 of 3


                                                                                        Page 2 of 3


finality of criminal convictions would be undermined." United States v. Peter, 310 F.3d

709, 712 (11th Cir. 2002), cited in United States v. Milovanovic 2012 WL 72710, at *1

(M.D. Fla. January 10, 2012) (seeking relief on the basis "that defense counsel was

ineffective in failing to inform Defendant of the deportation consequences of his guilty

plea"). The writ of coram nobis is an extraordinary remedy, "available only to remedy

errors 'of the most fundamental character' . . . ." United States v. Mills, 221 F.3d 1201,

1203 (11th Cir. 2000), quoting United States v. Mayer, 235 U.S. 55, 69, 35 S.Ct. 16, 59

L.Ed. 129 (1914).

        A writ of error coram nobis is not available as a remedy if a petitioner is still "in

custody" because relief is available by way of 28 U.S.C. § 2255. United States v.

Garcia, 181 F.3d 1274, 1274 (11th Cir. 1999) (holding that "[c]oram nobis relief is

unavailable to a person, such as the appellant, who is still in custody."), citing United

States v. Brown, 117 F.3d 471, 475 (11th Cir. 1997). The threshold issue is whether

Defendant is in custody for purposes of § 2255. Here, as was the case in Milovanovic,

although Petitioner "is not 'physically confined,' he may challenge his conviction and

sentence under § 2255 if he is 'in custody.' " 2012 WL 72710, at *2.

        Petitioner pled guilty to Count 1 of the Second Superseding Indictment in Case

No. 4:11cr37-011(S), and to Count 1 of the Indictment in Case No. 4:12cr04-001 on

March 27, 2012. Sentencing was held on July 27, 2012, and judgment was entered on

August 3, 2012. Doc. 448 of case 4:11cr37. Petitioner was sentenced to "a term of

time served" and upon release from imprisonment, he "shall be on supervised release

for a term of 4 years" in both cases. Doc. 448 at 3-4, case 4:11cr37. Because

Petitioner "is subject to a term of supervised release, he is 'in custody' for the purposes

Case No. 4:11cr37-RH/CAS; 4:12cr04-RH/CAS
     Case 4:11-cr-00037-RH-CAS              Document 500   Filed 10/16/12   Page 3 of 3


                                                                                   Page 3 of 3


of § 2255 relief. United States v. Brown, 117 F.3d 471, 475 (11th Cir. 1997);

Milovanovic, 2012 WL 72710, at *2; see also United States v. Fall, 2008 U.S. Dist.

LEXIS 91498, at *6 (S.D.N.Y. Oct. 31, 2008) (unpublished) (petitioner who was detained

by immigration authorities pending his appeal of an order of removal from the United

States, was ‘in custody’ for purposes of § 2255 because he was currently subject to a

sentence of supervised release imposed by the court). Therefore, the writ of coram

nobis is unavailable to Petitioner and the petition must be denied.1 Alikhani v. United

States, 200 F.3d 732, 734 (11th Cir. 2000) (writ of error coram nobis is only appropriate

when other relief is unavailable).

        In light of the foregoing, it is respectfully RECOMMENDED that Petitioner's

Petition for a Writ of Error Coram Nobis, docs. 499 and 20, respectively, be DENIED.

        IN CHAMBERS at Tallahassee, Florida, on October 16, 2012.



                                               S/   Charles A. Stampelos
                                               CHARLES A. STAMPELOS
                                               UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO THE PARTIES

       A party may file specific, written objections to the proposed findings and
recommendations within 14 days after being served with a copy of this report and
recommendation. A party may respond to another party's objections within 14 days after
being served with a copy thereof. Failure to file specific objections limits the scope of
review of proposed factual findings and recommendations.



        1
        No ruling on the merits is intended, but Petitioner is advised to review the plea
agreement in which he agreed: "If the Defendant is not a citizen of the United States,
the Defendant understands that this conviction may adversely affect the Defendant's
immigration status and may lead to deportation." Doc. 8 at 3, case 4:12cr04.
Case No. 4:11cr37-RH/CAS; 4:12cr04-RH/CAS
